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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 PROLITEC INC.,
                                                        C.A. No. 20-00984-RGA-MPT
                               Plaintiff,

            v.


 SCENTAIR TECHNOLOGIES, LLC

                               Defendant.

                       NOTICE OF SUBSTITUTION OF COUNSEL

       Pursuant to Local Rule 83.7, Shaw Keller LLP hereby withdraws its appearance, and DLA

Piper LLP (US) hereby enters its appearance, as Delaware counsel for the Defendant in this action.

Defendant shall continue to be represented by Crowell & Moring LLP.

 Dated: March 18, 2022

 SHAW KELLER LLP                                  DLA PIPER LLP (US)

 /s/ John W. Shaw                                 /s/ Jeff Castellano
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